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              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

THERESA KIRKLIN                          *
                         PLAINTIFF       *
                                         *
V.                                       *   CASE NO. 4:18CV00792 SWW
                                         *
                                         *
RHONDA BENTON, in her                    *
individual and official capacities, ET   *
AL.                                      *
                       DEFENDANTS



                                JUDGMENT

     Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that Plaintiff’s remaining claims arising under

federal law are DISMISSED WITH PREJUDICE, and Plaintiff’s remaining

supplemental state law claim is DISMISSED WITHOUT PREJUDICE pursuant to

28 U.S.C. § 1367(c)(3). THIS ACTION IS DISMISSED IN ITS ENTIRETY.

     IT IS SO ORDERED THIS 17TH DAY OF AUGUST, 2020.


                                    /s/Susan Webber Wright
                                    UNITED STATES DISTRICT JUDGE
